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                    UNITED STATES BANKRUPTCY COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IN RE:                                              *              Chapter 11
                                                    *
                                                    *              Case No. 19-34054sgj11
HIGHLAND CAPITAL MANAGEMENT, L.P.                   *
                                                    *
               Debtor                               *


                     SUPPLEMENTAL CERTIFICATE OF SERVICE
        I do hereby certify that on the 15th day of January, 2021, that I caused a copy of the
following to be served by Docusource via U.S. First Class Mail, postage prepaid upon the parties
listed on the attached Exhibit 1 and via email upon the parties listed on the attached Exhibit 2:

         A.    Motion to Appoint Examiner Pursuant to 11 U.S.C. § 1104(c) [Dkt. # 1745]; and

         B.    Ex Parte Motion for Emergency Hearing for the Motion to Appoint Examiner
               [Dkt. # 1748].

                                            Respectfully submitted,


                                            /s/Douglas S. Draper
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                Exhibit 1
                BBVA
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Exhibit 2

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